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                                                                            FILED IN THE
1                                                                       U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON



2                                                                  Jun 10, 2021
                                                                       SEAN F. MCAVOY, CLERK

3                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                 No. 4:19-CR-6069-SMJ-6
5
                               Plaintiff,
6                                              ORDER ACCEPTING GUILTY
                 v.                            PLEA AND DEFERRING
7                                              ACCEPTANCE OF THE PLEA
     JOHNATHAN PARRA,                          AGREEMENT
8
                               Defendant.
9

10         On June 10, 2021, the Court held a change-of-plea hearing in the above-

11   captioned matter. Ian Garriques appeared for the Government. The Defendant

12   was present, represented by Kenneth D. Therrien.

13         The Court finds that Defendant's guilty plea to Count 1 is knowing,

14   intelligent, and voluntary and is not induced by fear, coercion, or ignorance. The

15   Court finds this plea is given with the knowledge of the charged crime, the

16   essential elements of the charged crime, the Government's evidence of the charged

17   crime, and the consequences of pleading guilty. The Court further finds that the

18   facts admitted to by Defendant in open court constitute the essential elements of

19   the crime charged. Accordingly, the Court accepts Defendant's guilty plea.

20



     ORDER - 1
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1          However, acceptance of the Rule 11(c)(1)(C) plea agreement is deferred

2    until sentencing when the Court will have the benefit of a Presentence

3    Investigation Report.

4          Accordingly, IT IS HEREBY ORDERED:

5          1.     Defendant's guilty plea to Count 1 is ACCEPTED.

6          2.     All pending motions are DENIED AS MOOT.

7          3.     The trial date is STRICKEN.

8          4.     In the event an Order is entered permitting withdrawal of the guilty

9                 plea, Speedy Trial Act time will be calculated consistent with 18

10                U.S.C. § 3161(i).

11         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

12   and provide copies to all counsel.

13         DATED this 10th day of June 2021.

14
                        __________________________
15                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER - 2
